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P.O. BOX 10383 z
Zephyr Cove, NV 89448 JUN 2 § Z{W\

(775) 339-1354

   

 

 

 

 

CLERK US D\STR\CT COURT
NEVADA
D\STR\CT OF DEPUTY
BY:
_____________
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
SECURl'l`lES AND EXCHANGE CASE NO. lZ-CV-OOZZl-MMD-WGC
CGMM[SSION,
DUSTIN FOX’S NOTICE OF MOTION
Plaintiff, AND MOTION TO QUASH AND/OR
MODIFY DEFENDANTS’ SUBPOENA
v.
ARVCO CAPITAL RESEARCH, LLC, Date: July 18, 2014
ARVCO FINANCIAL VENTURES, LLC, Time: TBA

ALFRED J.R. VlLLALOBOS, and FEDERICO Dept: TBA
(“FRED”) R. BUENROSTRO,
Complaint Filed: November 21, 2011
Defendants. Tn'al Date: Not yet set

 

TO PLAINTIFFS AND DEFENDANTS AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE THAT on July 18, 2014, at the above-captioned Court,
located at 400 S. Virginia Street, Reno, Nevada, 89501, non-party Dustin Fox shall move this
Court under Federal Rules of Civil Procedure, Rule 45(d)(3)(A)(iv), to quash and/or modify
defendants’ subpoena to compel Dustin Fox to appear and testify at a deposition on July l,
2014.

Dustin Fox’s motion to quash and/or modify defendants’ subpoena shall be based upon
this Notice, the Memorandum of Points and Authorities in Support thereof, the Declaration of

Dustin Fox in Support of Dustin Fox’s Motion to Quash and/or Modify Defendants’ Subpoena,

 

DUSTIN FOX’S NOTICE OF MOTION AND MOTION TO
QUASH AND/OR MODIFY DEFNDANTS’ SUBPOENA
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and the documents and records contained within the Couit’s file in this matter, or argument

presented at the hearing of this matter.

Dated: June 24, 2014 @N
By ’

DUST]N FOX
ln Pro Per

 

DUSTIN FOX’S NOTICE OF MOTION AND MOTION TO
QUASH AND/OR MODIFY DEFNDANTS’ SUBPOENA
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